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IN THE COURT OF COMMON!BLEAS

     
  

CUYAHOGA COUNT ¥, onto
JOHN ZAPPOLA JUDG JOSE VILLANUEVA
“CASE.NO.: CV-09-704138
Plaintiff
Vv.
AMENDED COMPLAINT

ROCK CAPITAL SOUND CORP., et al.

Defendants

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Now comes the Plaintiff, John Zappola, by and through counsel, and for his
Amended Complaint against the Defendants states as follows:

COUNT ONE

1. The Plaintiff, John Zappola, is a resident of the City of Aurora, the
County of Geauga, and the State of Ohio;

2. The Defendants, Rock Capital Sound, Corporation, RCS Corporation
and/or Gary J. Jurist (hereinafter referred to collectively as “Defendants”), are
corporations and/or individuals duly licensed to do business in the State of Ohio,
including Cuyahoga County, as providers of sound, lighting, staging and other
equipment and services to be used to stage shows, entertainment and other
programs needing such equipment and services;

3. Plaintiff was an employee of the Defendants pursuant to a verbal
agreement under which he was to be paid a commission on the gross sales for each
job he secured for the Defendants until leaving their employ on August 28, 2009;

 
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4. Plaintiff has been paid a portion of the monies due and owing to him
under his contract of employment, but is still owed considerable more in the way
of monetary compensation pursuant to his employment contract with Defendants.

COUNT TWO

5. Plaintiff restates, reaffirms and re-alleges the statements and
allegations contained in Count One of the Complaint as though fully and expressly
rewritten and restated herein and further states that at all times times relevant
herein he was a sales representative for the Defendants who was paid in part with
sales commissions as that term is defined in Ohio Revised Section 1335.11 (A)(1);

6. At the time Plaintiff terminated his contract of employment with the
Defendants he was owed commissions in excess of Seventy-five-thousand Dollars
($75,000.00), which amount has not yet been paid;

7. The Defendants have failed to comply with Section 1335.11 of the
Ohio Revised Code and are liable to the Plaintiff for exemplary damages in an
amount not to exceed three times the amount of the commissions owed to Plaintiff
and reasonable attorney’s fees;

COUNT THREE

8. Plaintiff restates, reaffirms and re-alleges the statements and
allegations contained in Counts One and Two of the Complaint as though fully and
expressly rewritten and restated herein and further states that at all times relevant
herein he was a sales representative for the Defendants who maintained a 401(k)
retirement program with an entity under the control of Defendants;

9. Since he has left the employ of the Defendants the Plaintiff has
attempted to gain access to the monies he had on deposit in his 401(k) retirement
plan in order to “roll it over” into another plan with his current employer, however,
he has been denied access to his monies by the Defendants in violation of various
State and Federal laws and it is believed that the Defendants have converted
Plaintiff's monies to their own use.
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WHEREFORE, the Plaintiff, John Zappola, prays for Judgment against the
Defendants, Rock Capital Sound, Corporation, RCS Corporation and Gary J. Jurist,
jointly and severally, for compensatory and punitive damages in an amount in
excess of Twenty-five-thousand Dollars ($25,000.00), together with interest,
attorney fees and the costs of this action.

Respectfully Submitted

 

JAMES M. JOHNSON (0012815)
Attorney for The Plaintiff

1600 Illuminating Building

55 Public Square

Cleveland, Ohio 44113

(216) 615-9838

(216) 696-7047 fax
jmjohnsonesq@gmail.com

JURY DEMAND

Plaintiff hereby demands a Trial by Jury of the maximum number allowed
by law on all issues herein.

 

JAMES M. JOHNSON (0012815)

 
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CERTIFICATE OF SERVICE

Plaintiff has served copies of the foregoing Amended Complaint by ordinary
U.S. Mail on this 14" day of April, 2010 to the following:

David A. Campbell, Esq. Attorneys for Defendants
Charles F. Billington, Esq.

2100 One Cleveland Center

1375 East Ninth Street

Cleveland, Ohio 44114

Richard L. Demsey, Esq. Attorney for Counterclaim
U.S. Bank Centre Defendant

1350 Euclid Avenue, Suite 1550

Cleveland, Ohio 44115

 

JAMES M. JOHNSON (0012815)

 
